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EXHIBIT C

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Christi Underwood

 

DC-'l 7-1 0307
Cause No.

IDOC/TEXAS LEGAL COPIES, INC. § IN THE DISTRICT COURT

Plaintifj; §

§

v. §
§ DALLAS COUNTY, TEXAS

§

OHIO SECURITY INSURANCE §

COMPANY AND JULIUS JOHN §
HORVATH, § ____ JUDICIAL DISTRICT

Defemlants.

PLAINTIFF’S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, lDOC/Texas Legal Copies, Inc., (hereinafter referred to as “Plaintift”),
and file this Original Petition against Defendants, Ohio Security lnsurance Cornpany (“Ohio
Security”), and Julius John Horvath (“Horvath”) (collectively referred to as “Defendants”), and
respectfully Would show this court as follows:

PARTIES

l. Plaintiff, IDOC/Texas Legal Copies, Inc., is a Texas corporation With its principal

place of business at 9206 Sovereign Row, Dallas, Texas 7 5247.

2. Defendant, Ohio Security Insurance Company, is an insurance company that

 

engaged in the business of insurance in the State of Texas at all times material to this action. This
defendant may be served by serving its Registered Agent for service of process: Corporation

Service Cornpany, 211 East 7th Street Suite 620, Austin Texas 78701-3218.

 

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3. Defendantz Julius John Horvath, is an individual residing in and domiciled in the

State of Texas. This defendant may be served via certified mail, return receipt requested at 1211

Saint Tropez Drive, Carrollton, Texas 75006-2932.

DlSCOVERY LEVEL
4. Plaintiff intends for discovery to be conducted under Level 2 of Rule 190 of the
Texas Rules of Civil Procedure.
JURISDICTION
5. The Court has jurisdiction over this controversy because the damages are Within

the jurisdictional limits of this court. Plaintiff is seeking monetary relief more than $200,000 but
less than $1,000,000. Plaintiff reserves the right to amend this petition during and/or after the
discovery process j

6. The Court has jurisdiction over Defendant, Ohio Security, because this defendant
engaged in the business of insurance in the State of 1`exas, and Plaintiff’ s causes of action arise
out of defendant’s business activities in the State of Texas

7 . The Court has jurisdiction over Defendant, Horvath, because this defendant
engages in the business of adjusting insurance claims in the State of Texas, and Plaintiff’s causes
of action arise out of defendant’s business activities in the State of Texas

VENUE

8. Venue is proper in Dallas County, Texas, because the insured property is situated

in Dallas County, Texas. TEX. CIV. PRAC. & REM. CODE § 15.032.

FACTS

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9. Plaintiff is the owner of a property insurance policy (“the Policy”) number BZS
(16) 55 50 62 99 issued by Ohio Security.

10. Plaintiff owns the insured property located at 9206 Sovereign Row, Dallas, Texas
75247 (hereinafter referred to as “the Property”). Ohio Security sold the Policy insuring the
Property to Plaintiff.

11. On or about August 15, 2015, a hail storm and/or windstorm struck Dallas County,
Texas, causing severe damage to homes and businesses throughout the region (“the Storm”)
including the Property. The Storm damaged the Property extensively, causing damage to
Plaintiff’s roof, building exterior, and interior. Specifically, the hail caused damage to the
commercial roof field and roofing components, leaving dents and damage throughout The
damage was so severe that Plaintiff’s entire roof is in need of replacement

12. After the Storm, Plaintiff submitted a claim to Ohio Security for the damage the
Property sustained as a result of the Storm. Plaintiff requested that Defendant cover the cost of
repairs, including but not limited to, replacement of the roof pursuant to the Policy.

13. Defendant Ohio Security assigned Horvath as the individual adjuster (“the
adjuster”) on the claim. Mr. Horvath was improperly trained and failed to perform a thorough
investigation of the claim, spending an inadequate amount of time inspecting Plaintiff"s Property.
The adjuster conducted a substandard inspection ofPlaintiff’ s Property evidenced by the adjuster’s
report, which failed to include all of Plaintiff"s storm damages noted upon inspection. The
damages the adjuster included in the report were grossly undervalued and did not allow for

adequate funds to cover the cost of repairs to all the damages sustained

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14. Specifically, Mr. Horvath failed to consider damage to the field of the roof, and he
improperly provided for a coating to be applied rather than repair the damage to the roof. This
conveniently left the estimate $391 less than the deductible Had he used the correct repair method
for Plaintiff’ s roof, his estimate would have exceeded the deductible, resulting in a payment to
Plaintiff To support his estimate, Horvath retained an outcome-oriented engineer who turned a
blind eye to the obvious hail damage to the roof and blamed interior damage on the excluded cause
of “wear and tear.” Horvath furthered this misrepresentation that the cause of interior water
damage was due to a “likely” location for a leak. In reality, his statement was merely an attempt
to avoid proper payment under the Policy.

15. Ohio Security and its personnel failed to thoroughly review and properly supervise
the work of their assigned adjusters which ultimately led to the approving an improper adjustment
and an inadequately unfair settlement of Plaintiff’s claim. As a result of Defendants’ Wrongful
acts and omissions set forth above and further described herein, Plaintiff Was wrongfully denied
on the claim and has suffered damages

16. Together, Defendants set about to deny and/or underpay on properly covered
damages Defendants failed to provide full coverage for the damages sustained by Plaintiffs and
under-scoped Plaintiffs damages, thereby denying adequate and sufficient payment on Plaintiff’s
claim. As a result of Defendants’ unreasonable investigation, Plaintiff’ s claim was improperly
adjusted, and Plaintiff was wrongfully denied on the claim and has suffered damages The
mishandling of Plaintiff”s claim has also caused a delay in Plaintiff’s ability to fully repair the
Property, which has resulted in additional damages To this date, Plaintiff has yet to receive the

full payment that it is entitled to under the Policy.

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17. As detailed in the paragraphs below, Ohio Security wrongfully denied Plaintiff"s
claim for repairs of the Property, even though the Policy provided coverage for losses such as those
suffered by Plaintiff.

18. To date, Ohio Security continues to delay in the payment for the damages to the
Property. As such, Plaintiff has not been paid in full for the damages to the Property.

19. Defendant Ohio Security failed to perform its contractual duties to adequately
compensate Plaintiff under the terms of the Policy. Specifically, it refused to pay the full proceeds
of the Policy, although due demand was made for proceeds to be paid in an amount sufficient to
cover the damaged property, and all conditions precedent to recovery upon the Policy had been
carried out and accomplished by Plaintiff Ohio Security’s conduct constitutes a breach of the
insurance contract between Ohio Security and Plaintiff

20. Defendants misrepresented to Plaintiff that the damage to the Property was not
covered under the Policy, even though the damage was caused by a covered occurrence
Defendants’ conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement
Practices. TEX. INS. CODE § 541.060(a)(1).

21. Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner,
although they were aware of their liability to Plaintiff under the Policy. Defendants’ conduct
constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE
§ 541.0060(a)(2)(A).

22. Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate
settlement Specifically, Defendants failed to offer Plaintiff adequate compensation, without any

explanation why full payment was not being made. Furthermore, Defendants did not communicate

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that any future settlements or payments would be forthcoming to pay for the entire losses covered
under the Policy, nor did they provide any explanation for the failure to adequately settle Plaintiff’ s
claim. Defendants’ conduct is a violation of the Texas Insurance Code, Unfair Settlement
Practices. TEX. INS. CODE§ 541.060(a)(3).

23. Defendants failed to affirm or deny coverage of Plaintiff’ s claim within a
reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or rejection,
regarding the full and entire claim, in writing from Defendants Defendants’ conduct constitutes
a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §
541 .060(a)(4).

24. Defendants refused to fully compensate Plaintiff, under the terms of the Policy,
even though Defendants failed to conduct a reasonable investigation Specifically, Defendants
performed an outcome-oriented investigation of Plaintiff’s claim, which resulted in a biased,
unfair, and inequitable evaluation of Plaintiff’ s claim on the Property. Defendants’ conduct
constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE
§ 541.060(a)(7).

25. Defendant Ohio Security failed to meets it obligations under the Texas Insurance
Code regarding timely acknowledging Plaintiff" s claim, beginning an investigation of Plaintiff s
claim, and requesting all information reasonably necessary to investigate Plaintiffs claim, within
the statutorily mandated time of receiving notice of Plaintiff’s claim. Ohio Security’s conduct
constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE

§ 542.055.

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26. Defendant Ohio Security failed to accept or deny Plaintiff’ s full and entire claim
within the statutorily mandated time of receiving all necessary information Ohio Security’s
conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.
INS. CODE § 542.056.

27. Defendant Ohio Security failed to meet its obligations under the Texas Insurance
Code regarding payment of claim without delay. Specifically, it has delayed full payment of
Plaintiff’s claim longer than allowed and, to date, Plaintiff has not received full payment for the
claim. Ohio Security’s conduct constitutes a violation of the Texas Insurance Code, Prompt
Payment of Claims. TEX. INS. CoDE§ 542.058.

28. From and after the time Plaintiff’s claim was presented to Defendant Ohio Security,
the liability of Ohio Security to pay the full claim in accordance with the terms of the Policy was
reasonably clear. However, Ohio Security has refused to pay Plaintiff in full, despite there being
no basis whatsoever on which a reasonable insurance company would have relied to deny the full
payment Ohio Security’ conduct constitutes a breach of the common law duty of good faith and
fair dealing.

29. Defendants knowingly or recklessly made false representations, as described
above, as to material facts and/or knowingly concealed all or part of material information from
Plaintiffs

30. As a result of Defendants’ wrongful acts and omissions, Plaintiff was forced to
retain the professional services of the attorney and law firm who are representing them with respect

to these causes of action.

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31. Plaintiff’ s experience is not an isolated case. The acts and omissions Ohio Security
committed in this case, or similar acts and omissions, occur with such frequency that they
constitute a general business practice of Ohio Security with regard to handling these types of
claims Ohio Security’s entire process is unfairly designed to reach favorable outcomes for the
company at the expense of the policyholders

CAUSES OF ACTION
32. Each of the foregoing paragraphs is incorporated by reference in the following:
I. Causes of Action Against Horvath

33. Ohio Security assigned Horvath to adjust this claim. Horvath was improperly
trained and performed an outcome-oriented and unreasonable investigation of Plaintiff’ s damages
Horvath did not properly assess all damages caused by the Storm and omitted covered damages
from the report including the full extent of damage to the roof. Horvath also improperly included
a coating to the roof rather than a repair and he refused to fully compensate Plaintiff for the full
amount Plaintiff is entitled under the Policy. The outcome oriented investigation of Plaintiff" s
claim resulted in a biased evaluation of Plaintiff s damages to the Property and the estimated
damages were severely underestimated

A. Noncompliance with Texas Insurance Code: Unfair Settlement Practices

34. Defendant Horvath’s conduct constitutes multiple violations of the Texas Insurance
Code, Unfair Settlement Practices. TEX. INS. CODE § 541 .060(a). All violations under this article
are made actionable by TEX. INS. CODE § 541.151.

35. Defendant Horvath is individually liable for his unfair and deceptive acts,

irrespective of the fact Horvath was acting on behalf of Ohio Security, because Horvath is a

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“person” as defined by TEX. INS. CODE § 541.002(2). The term “person” is defined as “any
individual, corporation, association, partnership, reciprocal or interinsurance exchange, Lloyds
plan, fraternal benefit society, or other legal entity engaged in the business of insurance, including
an agent, broker, adjuster or life and health insurance counselor.” TEX. INS. CODE § 541.()02(2)
(emphasis added). (See also Liberly Mutual Insurance Co. v. Garrz'son Contractors, Inc., 966
S.W. 2d 482, 484 (Tex. 1998) (holding an insurance company employee to be a “person” for the
purpose of bringing a cause of action against him or her under the Texas Insurance Code and
subjecting him or her to individual liability)).

36. Defendants’ misrepresentations by means of deceptive conduct include, but are not
limited to: (l) failing to conduct a reasonable inspection and investigation of Plaintiff s damages;
(2) stating that Plaintiff’s damages were less severe than they in fact were; (3) using their own
statements about the non-severity of the damages as a basis for denying properly covered damages
and/or underpaying damages; and (4) failing to provide an adequate explanation for the inadequate
compensation Plaintiffs received Defendant Horvath’s unfair settlement practices, as described
above, of misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes
an unfair method of competition and an unfair and deceptive act or practice in the business of
insurance TEX. INS, CODE § 541.060 (a)(l).

37. Defendant Horvath’s unfair settlement practices, as described above, of failing to
attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though
liability under the Policy is reasonably clear, constitutes an unfair method of competition and an
unfair and deceptive act or practice in the business of insurance TEX. INS. CODE §

541.060(3)(2)(/\).

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38. Defendant Horvath failed to explain to Plaintiff the reasons for the offer or offers
of an inadequate settlement Specifically, Defendant Horvath failed to offer Plaintiff adequate
compensation without any explanation as to why full payment was not being made Furthermore,
Defendant Horvath did not communicate that any future settlements or payments would be
forthcoming to pay for the entire losses covered under the Policy, nor was there any explanation
for the failure as described above, of failing to promptly provide Plaintiff with a reasonable
explanation of the basis in the Policy, in relation to the facts or applicable law, for the offer of a
compromise settlement of Plaintiff’s claim, constitutes an unfair method of competition and an
unfair and deceptive act or practice in the business of insurance TEX. INS. CODE § 541 .060(a)(3).

39. Defendant Horvath’s unfair settlement practices, as described above, of failing
within a reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a
reservation of rights to Plaintiff, constitutes an unfair method of competition and an unfair and
deceptive act or practice in the business of insurance TEX. INS. CODE § 541.()60(a)(4).

40. Defendant Horvath did not properly inspect the Property and failed to account for
and/or undervalued Plaintiff’s roof damage, although reported by Plaintiff to Ghio Security.
Defendant Horvath’s unfair settlement practices, as described above, of refusing to pay Plaintiff’ s
claim without conducting a reasonable investigation, constitutes an unfair method of competition,
and an unfair and deceptive act or practice in the business of insurance TEX. INS. CODE §
541 .060(a)(7).

II. Causes of Action Against 0hi0 Security

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41. Ohio Security intentionally breached its contract with Plaintiff, intentionally
violated the Texas Insurance Code and intentionally breached the common law duty of good faith
and fair dealing

A. Breach of Contract

42. Ohio Security breached the contract of insurance it had with Plaintiff Ohio
Security breached the contract by its failure/and or refusal to adequately pay the claim as it is
obligated to do under the terms of the Policy in question and under the laws in the State of Texas.

B. Noncompliance with Texas Insurance Code: Unfair Settlement Practices

43. Defendant Ohio Security’s conduct constitutes multiple violations of the Texas
Insurance Code, Unfair Settlement Practices. TEX. INS, CODE § 541.060(a). All violations under
this article were made actionable by TEX. INS. CODE § 541.151.

44. Defendant Ohio Security’s unfair settlement practice, as described above, of
misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of insurance
TEX. INS. CODE § 5410.060(a)(1).

45. Defendant Ohio Security’s unfair settlement practice, as described above, of failing
to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even
though Ohio Security’s liability under the Policy was reasonably clear, constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of insurance
TEX. INs. CODE § 541.060(a)(2)(A).

46. Defendant Ohio Security’s unfair settlement practice, as described above, of failing
to promptly provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation

to the facts or applicable law, for its offer of a compromise settlement of the claim, constitutes an
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unfair method of competition and an unfair and deceptive act or practice in the business of
insurance TEX. INS. CODE § 541.060(a)(3).

47. Defendant Ohio Security’s unfair settlement practices, as described above, of
failing within a reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a
reservation of rights to Plaintiff, constitutes an unfair method of compensation and an unfair and
deceptive act or practice in the business of insurance TEX. INS. CODE § 541.060(a)(4).

48. Defendant Ohio Security’s unfair settlement practice, as described above, of
refusing to pay Plaintiff’ s claim without conducting a reasonable investigation, constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business of
insurance TEX. INS. CODE § 541.060(a)(7).

C. Noncompliance with Texas Insurance Code: Prompt Payment of Claims
Statute

49. Plaintiff is entitled to 18% interest and attorney fees under TEX. INS. CODE
§542.060 for violating the Texas Insurance Code, Prompt Payment of claims TEX. INS. CODE
§542.051 et. seq.

50. Ohio Security failed to acknowledge receipt of Plaintiff’ s claim, commence
investigation of the claim, and request from Plaintiff all items, statements, and forms that it
reasonably believed would be required within the applicable time constraints under TEX. INS. CODE
§542.055.

51. Ohio Security failed to notify Plaintiff in writing of its acceptance or rejection of

the claim within applicable time constraints under TEX. INS. CODE §542.056.

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52. Ohio Security delayed the payment of Plaintiff’s claim following its receipt of all
items, statements, and forms reasonably requested and required, longer than the amount of time
provided for under TEX. INS. CODE §542.058.

D. Breach of the Duty of Good Faith and Fair Dealing

53. Ohio Security breached the duty of good faith and fair dealing by failing to
adequately and reasonably investigate and evaluate Plaintiff’ s claim while it knew or should have
known, by the exercise of reasonable diligence, that its liability was reasonably clear.

E. Knowledge

54. Each of the acts described above, together and singularly, was done “knowingly”
as that term is used in the Texas Insurance Code.

DAMAGES

55. Plaintiff would show that all of the aforementioned acts, taken together or
singularly, constitute the producing causes of the damages sustained by Plaintiff,

56. The damages caused by the hail storm and/or windstorm have not been properly
addressed or repaired in the months since the storm, causing further damages to the Property, and
causing undue hardship and burden to Plaintiff. These damages are a direct result of Defendants’
mishandling of Plaintiff’ s claim in violation of the laws set forth above

57. For breach of contract, Plaintiff is entitled to regain the benefit of their bargain,
which is the amount of their claim, together with attorney’s fees.

58. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiff are entitled to actual damages, which include the loss of the benefits that should have been

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paid pursuant to the policy, court costs, and attorney’s fees. For knowing conduct of the acts
described above, Plaintiff asks for three times their actual damages TEX. lNS. CODE § 541 .152.

59. For noncompliance with Texas Insurance Code, Prompt Payment of Claims,
Plaintiff is entitled to the amount of the claim, as well as 18% (eighteen percent) interest per annum
on the amount of such claim as damages, together with attorney’s fees TEX. INS. CODE § 542.060.

60. For breach of the common law duty of good faith and fair dealing, Plaintiff is
entitled to compensatory damages, including all forms of loss resulting from the insurer’s breach
of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the
insurer owed, exemplary damages and damages for emotional stress

61. For the prosecution and collection of this claim, Plaintiff has been compelled to
engage the services of the attorney whose name is subscribed to this pleading Therefore, Plaintiff
is entitled to recover a sum for the reasonable and necessary services of Plaintiff’s attorney in the
preparation and trial of this action, including any appeals to the Court of Appeals and/or the
Supreme Court of Texas

JURY DEMAND
62. Plaintiff hereby demands a trial by jury and tender the appropriate fee
DISCOVERY REQUESTS

63. Pursuant to Texas Rules of Civil Procedure 194, Plaintiff requests that each
Defendant disclose, within 30 days of service of this request, the information or materials
described in Texas Rule of Civil Procedure 194.2(a)-(l).

64. Defendants are requested to respond to the attached interrogatories and requests for

production within fifty (50) days

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PRAYER
65. WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this court site
Defendants to appear and answer herein and that Plaintiff has judgment taken against Defendants
and recovers from Defendants all damages allowed by law, and that Plaintiff be awarded attorneys’
fees for trial and any appeal of this case, for pre-judgment and post judgment interest as allowed
by law, costs of court, and such other and further relief, both general and special, at law or in

equity, to which Plaintiff is justly entitled

Respectf`ully submitted,

THE Poirrs LAw FiRM, LLP

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